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                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


 IN RE:                                    )
                                           )     Case No. 18-27004
 DONNA RAY JOHNSON,                        )     Chapter 13
                                           )
       Debtor.                             )
                                           )
 _________________________________________ )
                                           )
 DONNA RAY JOHNSON,                        )     Adv. Proc. 18-00294
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )
                                           )
 WELLS FARGO MORTGAGE,                     )
 NATIONAL ASSOCIATION f/k/a WACHOVIA)
 MORTGAGE f/k/a WORLD SAVINGS BANK, )
 FSB, U.S. BANK NATIONAL ASSOCIATION, )
 SOLELY AS TRUSTEE FOR THE                 )
 BLUEWATER INVESTMENT TRUST 2017-1, )
 SELENE FINANCE LP, SN SERVICING           )
 CORPORATION, and BUNGALOW                 )
 SERIES REO, LLC,                          )
                                           )
       Defendants.                         )
 ________________________________________________________________________

  RESPONSE IN OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION FOR
   PRELIMINARY INJUNCTION AGAINST BUNGALOW SERIES, REO, LLC
 ________________________________________________________________________

        Comes Now, Bungalow Series REO, LLC (hereinafter “Bungalow”), by and

 through counsel, and files this Memorandum of Law in Support of its Response and

 Objection to Plaintiff’s Request for Preliminary Injunction, stating as follows:

        Plaintiff moves this Court for an injunction barring the Defendants from

 foreclosing on the Plaintiff’s home. The foreclosure sale has already taken place and the
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 property transferred. Plaintiff no longer has an interest in the property. The foreclosure

 sale proceeded in accordance with Tennessee law, at a time when Plaintiff’s now-

 reinstated bankruptcy case was dismissed. Because of that, the property is not part of the

 bankruptcy estate and the foreclosure sale remains valid. This injunction motion is

 unnecessary.

 I.      FACTS RELEVANT TO THIS MOTION

         Plaintiff executed a Deed of Trust with World Savings and Loan in 2002. [First

 Amended Adversary Complaint (“FAAC”), ¶10, Ex. 1, Doc #28-1] That trust deed was

 refinanced in 2004 (“2004 Trust Deed”). [2004 Trust Deed, attached] The 2004 Trust

 Deed was modified in 2010. Plaintiff defaulted on payments thereafter. [FAAC, ¶25]

         On August 21, 2018, Plaintiff filed the instant Chapter 13 Bankruptcy, Case No.

 18-27004, to which this adversary proceeding relates (the “Current Bankruptcy”).

 [Current Bankruptcy, ECF #1] The instant case was dismissed on 21 days later,

 September 11, 2018. [Current Bankruptcy, ECF #15]

         Following the dismissal, on September 28, 2018 a foreclosure sale was conducted.

 The property was sold through that sale and the property interest transferred to Bungalow

 Series REO, LLC. [FAAC, ¶14; Ex. 5] The Trustee’s Deed was recorded October 11,

 2018.

         On October 12, 2018, the instant case was reinstated, following Plaintiff’s Motion

 to Reinstate the Case. [Current Bankruptcy, ECF #19 and #23] On December 6, 2018,

 Plaintiff filed the original Complaint in this adversary proceeding. [Complaint] On

 February 21, 2019, Plaintiff filed the FAAC. Bungalow filed a Tennessee State Court




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 Forcible Entry Detainer Action in Shelby County General Sessions, the detainer hearing

 being set for March 25, 2019.

 II.    LAW AND ARGUMENT

        Federal Rule of Civil Procedure 65(a)(1), as made applicable to this adversary

 proceeding by Federal Rule of Bankruptcy Procedure 7065, requires that in order for this

 Court to issue a temporary restraining order or preliminary injunction, Plaintiff must

 demonstrate: "'(1) a substantial likelihood of success on the merits; (2) that irreparable

 injury will be suffered unless the injunction issues; (3) the threatened injury to the

 movant outweighs whatever damage the proposed injunction may cause the opposing

 party; and (4) if issued, the injunction would not be adverse to the public interest.'" See

 Babler v. Futhey, 618 F.3d 514, 519-20 (6th Cir. 2010).

        A.      Because the Property is Not Part of the Bankruptcy Estate, Plaintiff
                does Not Have a Substantial Likelihood of Success on the Merits

        The bankruptcy court’s injunctive power is ordinarily limited to protecting

 property belonging to a debtor. Property of the estate is defined in 11 U.S.C. § 541(a)(1)

 (“. . . all legal or equitable interests of the debtor in property as of the commencement of

 the case.”). The stay is not applicable to actions against property that is neither the

 debtor’s nor that of the bankruptcy estate. If a lender completes foreclosure before the

 bankruptcy filing, neither the debtor nor the estate has any interest in the property and the

 automatic stay does not apply. In re Williams, 247 B.R. 449 (Bankr. E.D. Tenn. 2000)

 (when foreclosure sale of debtor’s residence became final prior to commencement of

 chapter 13 case, residence did not become property of estate and was not protected by

 automatic stay).




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        The foreclosure sale was conducted when the instant case was dismissed and

 closed. The reinstatement of the instant case did not reimpose the automatic stay

 retroactively. See Lashley v. First National Bank of Live Oak, 825 F.2d 362, 364 (11th

 Cir. 1987); In re Hill, 305 B.R. 100, 105-108 (Bankr. M.D. Fla. 2003) (collecting cases).

 This refusal to make the stay retroactive stems from an unwillingness to invalidate

 legally-permissible actions creditors may take to enforce their rights during the gap.

 Courts allow the reinstatement of any stay prospectively, but not retroactively, in order to

 balance the rights of both the debtor and the creditors. In re Murphy, 493 B.R. 576, 580

 (Bankr. D. Colo. 2013) (emphasis added). That a temporary automatic stay in the Current

 Bankruptcy was entered in Current Bankruptcy on January 4, 2019, after the foreclosure

 sale and the recording of the Trustee’s Deed, does not invalidate or effect that sale.

        Upon dismissal of the instant case, the foreclosure sale was permitted to be

 conducted free of the automatic stay. See In re Geberegeorgis, 310 B.R. 61, 63 (6th Cir.

 BAP 2004), citing In re Hill, supra (“Although a case may remain open after dismissal,

 the automatic stay of § 362 of the Bankruptcy Code terminates when the case is

 dismissed.”)

        Plaintiff acknowledges that she received notice of acceleration of the note from

 Wells Fargo Mortgage after she defaulted on mortgage payments as modified. [FAAC,

 ¶25] The 2004 Trust Deed provides that

         If Lender invokes the power of sale, Trustee shall give notice of sale by
       public advertisement in the county in which the Property is located for the
       time and in the manner provided by applicable law, and Lender or Trustee
       shall mail a copy of the notice of sale to Borrower . . ..

 [2004 Trust Deed, ¶28, attached]




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        The recorded Trustee’s Deed [FAAC, Ex. 5] shows that the Notice of Sale was

 published more than 20 days before the scheduled sale date in The Daily News of

 Memphis in Shelby County, Tennessee on September 7, 14, and 21, 2018, and notice of

 the sale mailed, each in compliance with Tenn. Code Ann. § 35-5-101(a), (b) and (e).

        Also, in paragraph 25 of the FAAC, Plaintiff asserts that she did not receive

 notice of the notice of this foreclosure. This purported failure to receive notice of the

 foreclosure sale does not state a claim for relief. Both paragraph 28 of the 2004 DOT and

 Section 35-5-101(e) only require that notice be sent by the lender, not received by the

 borrower. There is no statutory requirement that the notice be received by the debtor.

        In Davis v. Wells Fargo Home Mortgage, et al., W2016-02278-COA-R3-CV

 (Tenn. Ct. App. Jan. 31, 2018) (decision attached), the trustee’s deed signed in that case

 included a memorialization similar to the trustee’s deed in the instant matter, that is:

       WHEREAS, in pursuance of said request by said beneficiary, advertisement
       and notice of the sale identifying all interested parties of said property was
       made and given [in] conformity with the terms and provisions of said Deed of
       Trust, and Tenn. Code Ann. § 35-5-104;

 The Davis court concluded that the lack of notice argument was without merit, affirming

 the lower court’s dismissal of that claim. Because Plaintiff does not appear to have a

 strong likelihood of success on the merits as it pertains to the issues raised for purposes of

 this motion, this factor weighs in favor of denying Plaintiff’s motion for preliminary

 injunction.

        B.      Because Plaintiff has an Adequate Remedy at Law, No Threat
                of Irreparable Injury Exists Justifying a Preliminary Injunction

        When the party seeking the injunction has a full and adequate remedy at law, the

 harm is not irreparable. See Fort v. Dixie Oil Co., 95 S.W.2d 931, 932 (Tenn. 1936).




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        Tenn. Code Ann. § 35-5-107 provides that:

       Effect of noncompliance with chapter. Any such officer, or other person, who
       fails to comply with the provisions of this chapter commits a Class C
       misdemeanor and is, moreover, liable to the party injured thereby, for all
       damages resulting from the failure.

        Were Plaintiff to have a valid claim, the remedy would be for damages against the

 parties who carried out the nonjudicial foreclosure. Bungalow remains the title owner of

 the property. The long-standing rule in Tennessee is that a trustee’s failure to comply

 with statutory foreclosure requirements “does not render the sale at foreclosure void or

 even voidable.” Nationstar Mortgage, LLC v. Humphrey, 2011 U.S. Dist. LEXIS 83944,

 at *15-16 (W.D. Tenn. 2011) (citations omitted). The Humphrey Court stated that “[i]t is

 apparent that the legislature did not want uncertainty concerning land titles to prevail.”

 Id. Under Section 35-5-106, the alleged failure to comply with the statutory scheme does

 not render the foreclosure sale void. See Gibson v. Mortgage Elec. Registration Sys.,

 2011 U.S. Dist. LEXIS 91621, at *17-18 (W.D. Tenn. Aug. 16, 2011).

        Plaintiff received notice of the sale. [2004 Trust Deed, ¶¶14, 28, attached] As

 shown by the recorded Trustee’s Deed in this instance, the foreclosure sale was held in

 compliance with Tenn. Code Ann. § 35-5-101, et seq. Because the foreclosure sale is

 valid, Plaintiff cannot show that she is entitled to any injunctive relief.

        C.      Were an Injunction to Issue Enjoining Plaintiff’s Unlawful
                Detainer, It is Bungalow as Owner of Record That Will be Harmed

        Bungalow would suffer harm greater than that of Plaintiff because it would be

 enjoined from the free use and enjoyment of the property that it received from the

 properly noticed foreclosure sale. To deny Bungalow from using the property pending

 resolution of this case or the pending eviction matter in state court would result in

 significantly more harm to Bungalow than Plaintiff considering Plaintiff has already


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 admitted she defaulted on her modified mortgage payments. Because the foreclosure sale

 has already taken place and the property has been Bungalow, this factor weighs in favor

 of Bungalow.

        D.         The Public Interest would Not be Served by an Injunctive Relief

        As this is a dispute between private parties, with Plaintiff seeking injunctive relief

 to stop a foreclosure sale that has already taken place, it is also clear “the public has an

 interest in seeing that loans are repaid.” See Senior Hous. Alts., Inc. v. Bernard Global

 Loan Investors, Ltd., No. E2010-01964-COA-R3-CV, 2011 WL 2553260, at *11 (Tenn.

 Ct. App. June 28, 2011). Here, the public’s interest would not likely be advanced by an

 injunction in this case, because the foreclosure would not be set aside, even if Plaintiffs

 prevailed on some or all claims. Therefore, this factor does not weigh in favor of granting

 the injunction.

        III.       CONCLUSION

        Weighing all four factors, the preliminary injunction sought by Plaintiff is not

 justified. Plaintiff seeks to keep Defendants from foreclosing on the property. That has

 already taken place at a time when the instant case was dismissed. Wherefore, Bungalow

 respectfully requests that the Court deny Plaintiff’s Motion for Preliminary Injunction.



 /s/Edward D. Russell                                         Dated: March 18, 2019
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                           CERTIFICATE OF SERVICE

 I hereby certify that on this 18th day of March 2019, a true and correct copy of the
 Response in Opposition to Plaintiff’s Motion for Preliminary Injunction Against
 Bungalow Series REO, LLC was served by regular mail and electronically upon the
 following:

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                                              By: /s/Edward D. Russell
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